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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
In re: Vioxx® MDL Docket No. 1657
Product. Liability Litigation
SECTION L
This document relates to:
Joseph Rasor, et al. JUDGE FALLON
v,
Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES
Only with regard to:
Dora Garcia Galbaldon

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Docket No. 2:06-cv-03368

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,

IT IS ORDERED that the claims of plaintiff Dora Garcia-Gabaldon in the above-
captioned case be and they hereby are dismissed with prejudice with each party to bear his or her
own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
